
668 S.E.2d 899 (2008)
In the Matters of N.C.H, et al.
No. 463A08.
Supreme Court of North Carolina.
November 7, 2008.
Don Willey, for Mother.
Charles E. Frye, III, for Davidson County DSS.
Laura B. Beck, Attorney Advocate, for Guardian ad Litem.
The following order has been entered on the motion filed on the 5th day of November 2008 by Office of the Appellate Defender for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 7th day of November 2008."
